                     UNITED STATES DISTRICT COURT

                       DISTRICT OF MASSACHUSETTS


In re PEGASYSTEMS INC. SECURITIES   )   No. 1:22-cv-11220-WGY
LITIGATION                          )
                                    )   STIPULATION OF SETTLEMENT




4856-3212-4082.v3
          This Stipulation of Settlement, dated April 23, 2024 (the “Stipulation”), is made and entered

into by and among: (i) Construction Industry Laborers Pension Fund, Central Pennsylvania

Teamsters Pension Fund – Defined Benefit Plan, and Central Pennsylvania Teamsters Pension Fund

– Retirement Income Plan 1987 (“Lead Plaintiffs”), on behalf of themselves and each Settlement

Class Member,1 by and through their counsel of record in In re Pegasystems Inc. Securities

Litigation, No. 1:22-cv-11220-WGY (D. Mass.) (the “Litigation”); and (ii) Pegasystems Inc. (“Pega”

or the “Company”) and Alan Trefler (the “Individual Defendant” and, collectively, “Defendants”),

by and through their counsel of record in the Litigation. The Stipulation is intended to fully, finally,

and forever resolve, discharge, and settle the Litigation and the Released Claims, subject to the

approval of the Court and the terms and conditions set forth in this Stipulation.

I.        THE LITIGATION

          In re Pegasystems Inc. Securities Litigation is currently pending before the Honorable

William G. Young in the United States District Court for the District of Massachusetts (the “Court”).

The initial complaint in the Litigation was filed in the United States District Court for the Eastern

District of Virginia on May 19, 2022. On July 27, 2022, the case was transferred to the District of

Massachusetts. On August 9, 2022, the Court appointed the Lead Plaintiffs and approved their

selection of Robbins Geller Rudman & Dowd LLP as Lead Counsel.

          On October 18, 2022, Lead Plaintiffs filed the Consolidated Amended Complaint for

Violations of the Federal Securities Laws (“Complaint”) alleging violations of §§10(b) and 20(a) of

the Securities Exchange Act of 1934 (the “Exchange Act”). On December 19, 2022, Defendants

moved to dismiss the Complaint. Following full briefing and oral argument, on July 24, 2023, the



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          All capitalized terms not otherwise defined shall have the meanings ascribed to them in §IV.1
herein.

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Court issued an order which denied the motion except with respect to Kenneth Stillwell (the

“Dismissed Defendant”).

         On December 12, 2023, Lead Plaintiffs moved to certify a class. Defendants filed their

opposition on February 28, 2024. Lead Plaintiffs filed their reply on March 3, 2024. The motion

was pending when this proposed Settlement was reached.

         The parties conducted extensive fact discovery, as well as class certification-related expert

discovery. In all, Defendants and third parties produced more than 1.6 million pages of documents.

         Lead Plaintiffs and Defendants participated in a voluntary confidential mediation session

with John Van Winkle, an experienced mediator, on February 27, 2024. The mediation session was

preceded by submission of mediation statements by the Settling Parties. The Settling Parties

engaged in good faith negotiations but did not reach a settlement and litigation continued. Following

numerous additional settlement discussions, on March 4, 2024, the parties agreed to settle the

Litigation in return for a cash payment of $35 million to be paid by Defendants and/or their insurers

on behalf of Defendants for the benefit of the Settlement Class, subject to the negotiation of the

terms of a Stipulation of Settlement and approval by the Court. This Stipulation (together with the

Exhibits hereto) reflects the final and binding agreement among the Settling Parties.

II.      DEFENDANTS’ DENIALS OF WRONGDOING AND LIABILITY

         Throughout the course of this Litigation and in this Stipulation, Defendants expressly have

denied, and continue to deny, any and all of the claims alleged in the Litigation, including any and

all allegations of fault, negligence, liability, wrongdoing, or damages whatsoever. Without limiting

the foregoing in any way, Defendants expressly have denied, and continue to deny, each and all of

the claims and contentions alleged by Lead Plaintiffs in this Litigation, including claims that they

have committed any act or made any materially misleading statement giving rise to any liability


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under the federal securities laws. Defendants expressly have denied, and continue to deny, that they

have committed any wrongdoing or violations of law as alleged in any complaint in the Litigation or

that could have been alleged in the Litigation, and Defendants maintain that their conduct was at all

times proper and in compliance with applicable provisions of law. Defendants also expressly have

denied, and continue to deny, that they made any material misstatement or omission, that the prices

of Pega common stock were artificially inflated during the Settlement Class Period as a result, that

any Settlement Class Member, including Lead Plaintiffs, suffered any damages, or that any

Settlement Class Member, including Lead Plaintiffs, was harmed by any conduct alleged in the

Litigation or that could have been alleged in this Litigation. Defendants have asserted and continue

to assert that (a) their public disclosures contained no material misstatements or omissions, and (b) at

all times, they acted in good faith and in a manner reasonably believed to be in accordance with all

applicable rules, regulations, and laws. Defendants maintain that they have meritorious defenses to

all claims alleged in the Litigation.

         As set forth below, neither the Settlement nor any of the terms of this Stipulation shall be

construed or deemed to be evidence of or constitute an admission, concession, or finding of any

fault, negligence, liability, wrongdoing, or damage whatsoever, or any infirmity in the defenses that

Defendants have, or could have, asserted. Defendants are entering into this Stipulation solely to

eliminate the burden, expense, and uncertainty of further litigation and the length of continued

proceedings necessary to defend the Litigation through trial and any appeals. Defendants have

determined that it is desirable and beneficial to them that the Litigation be settled in the manner and

upon the terms and conditions set forth in this Stipulation.




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III.     LEAD PLAINTIFFS’ CLAIMS AND THE BENEFITS OF SETTLEMENT

         Lead Plaintiffs and Lead Counsel believe that the claims asserted in the Litigation have merit

and that the evidence developed to date supports the claims asserted therein. However, Lead

Plaintiffs and Lead Counsel recognize and acknowledge the expense and length of continued

proceedings necessary to prosecute the Litigation through trial and through appeals. Lead Plaintiffs

and Lead Counsel also have taken into account the uncertain outcome and the risks of any litigation,

especially in a complex action such as this Litigation, as well as the difficulties and delays inherent

in this Litigation. Lead Plaintiffs and Lead Counsel also are mindful of the inherent problems of

proof under and possible defenses to the securities law violations asserted in the Litigation. Lead

Plaintiffs and Lead Counsel believe that the Settlement set forth in this Stipulation confers

substantial benefits upon the Settlement Class. Based on their own investigation and evaluation,

Lead Plaintiffs and Lead Counsel have determined that the Settlement set forth in this Stipulation is

in the best interests of Lead Plaintiffs and the Settlement Class.

IV.      TERMS OF THE STIPULATION AND AGREEMENT OF SETTLEMENT

         NOW, THEREFORE, without any concession by Lead Plaintiffs that the Litigation lacks

merit, and without any concession by the Defendants of any liability, wrongdoing, fault, damages, or

lack of merit in the defenses asserted, IT IS HEREBY STIPULATED AND AGREED, by and

among Lead Plaintiffs (on behalf of themselves and the Settlement Class Members) and Defendants,

by and through their respective counsel, that, subject to the approval of the Court pursuant to Rule

23(e) of the Federal Rules of Civil Procedure, in consideration of the benefits flowing to the parties

from the Settlement, the Litigation and the Released Claims shall be finally, fully, and forever

compromised, settled, and released, and the Litigation shall be dismissed with prejudice upon and

subject to the terms and conditions of this Stipulation, as follows:


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         1.         Definitions

         As used in this Stipulation, the following terms, when capitalized, have the meanings

specified below:

         1.1        “Authorized Claimant” means any Settlement Class Member who submits a valid

Claim to the Claims Administrator that is accepted for payment pursuant to the Court-approved Plan

of Allocation.

         1.2        “Business Day” means any day except Saturday or Sunday or any legal holiday, as

defined in Rule 6(a)(6) of the Federal Rules of Civil Procedure.

         1.3        “Claim(s)” means a paper claim submitted on a Proof of Claim and Release form or

an electronic claim that is submitted to the Claims Administrator, substantially in the form contained

in Exhibit A-2 attached hereto.

         1.4        “Claims Administrator” means the firm of Gilardi & Co. LLC.

         1.5        “Defendants” means, collectively, Pega and Alan Trefler.

         1.6        “Defendants’ Counsel” means Wilmer Cutler Pickering Hale and Dorr LLP.

         1.7        “Dismissed Defendant” means Kenneth Stillwell.

         1.8        “Effective Date,” or the date upon which this Settlement becomes “Effective,” means

the first date by which all of the events and conditions specified in ¶7.1 of the Stipulation have been

met and have occurred or have been waived.

         1.9        “Escrow Account” means an interest-bearing account established by the Escrow

Agent. The Escrow Account shall be managed by the Escrow Agent, subject to the Court’s

supervisory authority, for the benefit of Lead Plaintiffs and the Settlement Class in accordance with

the terms of this Stipulation and any order of the Court.




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         1.10       “Escrow Agent” means the law firm of Robbins Geller Rudman & Dowd LLP or its

successor(s).

         1.11       “Final” means, with respect to any order or Judgment of the Court, that such order or

Judgment represents a final and binding determination of all issues within its scope and has not been

reversed, vacated, or modified in any way and is no longer subject to appellate review, either

because of disposition on appeal and conclusion of the appellate process or because of passage,

without action, of time for seeking appellate review. Without limitation, an order or Judgment

becomes final when either: (a) no appeal therefrom has been filed and the time has passed for any

notice of appeal to be timely filed therefrom; or (b) an appeal has been filed and either (i) the court

of appeals has either affirmed the order or Judgment or dismissed that appeal and the time for any

reconsideration or further appellate review has passed; or (ii) a higher court has granted further

appellate review and that court has either affirmed the underlying order or Judgment or affirmed the

court of appeals’ decision affirming the Judgment or dismissing the appeal. For purposes of this

paragraph, an “appeal” shall include any motion for reconsideration or petition for a writ of

certiorari or other writ that may be filed in connection with approval or disapproval of this

Settlement. Any appeal or proceeding seeking subsequent judicial review pertaining solely to an

order issued with respect to: (i) attorneys’ fees, costs, or expenses, (ii) the Plan of Allocation (as

submitted or subsequently modified), or (iii) the procedures for determining Authorized Claimants’

recognized Claims, shall not in any way delay, affect, or preclude the time set forth above for the

Judgment to become Final, or otherwise preclude the Judgment from becoming Final.

         1.12       “Judgment” means the Final Judgment and Order of Dismissal with Prejudice to be

rendered by the Court, substantially in the form attached hereto as Exhibit B, as well as any form of

final judgment that may be entered by the Court in a form other than the form attached hereto as

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Exhibit B and where none of the Settling Parties elects to terminate this Settlement by reason of such

variance, consistent with the terms of this Stipulation.

         1.13       “Lead Counsel” means the law firm of Robbins Geller Rudman & Dowd LLP.

         1.14       “Lead Plaintiffs” means Construction Industry Laborers Pension Fund, Central

Pennsylvania Teamsters Pension Fund – Defined Benefit Plan, and Central Pennsylvania Teamsters

Pension Fund – Retirement Income Plan 1987.

         1.15       “Lead Plaintiffs’ Counsel” means any attorney or firm who has appeared in the

Litigation, on behalf of any plaintiffs or proposed class.

         1.16       “Litigation” means the lawsuit pending in the United States District Court for the

District of Massachusetts captioned In re Pegasystems Inc. Securities Litigation, No. 1:22-cv-11220-

WGY.

         1.17       “Net Settlement Fund” means the Settlement Fund less: (i) any Court-awarded

attorneys’ fees, expenses, and interest thereon; (ii) Notice and Administration Expenses; (iii) Taxes

and Tax Expenses; and (iv) other Court-approved deductions.

         1.18       “Notice and Administration Expenses” means actual notice and administration

expenses, including reasonable costs and expenses actually incurred with providing notice of the

Settlement to the Settlement Class by mail, email, publication, and other means, locating potential

Settlement Class Members, assisting with the submission of Claims, processing Proof of Claim

forms, administering the Settlement, and paying escrow taxes, fees and costs, if any.

         1.19       “Person(s)” means an individual, corporation (including all divisions and

subsidiaries), limited liability corporation, professional corporation, partnership, limited partnership,

limited liability partnership, limited liability company, professional corporation, joint venture, fund,

association, joint stock company, estate, legal representative, trust, unincorporated association,

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government or any political subdivision or agency thereof, and any business or legal entity, and all

of their respective spouses, heirs, beneficiaries, trustees, transferees, executors, administrators,

predecessors, successors, representatives, or assignees.

         1.20       “Plan of Allocation” means a plan or formula of allocation of the Net Settlement

Fund whereby the Net Settlement Fund shall be distributed to Authorized Claimants. Any Plan of

Allocation is not part of this Stipulation and neither Defendants nor the Released Defendant Parties

shall have any responsibility, obligation, or liability with respect thereto. Any order of the Court

modifying or rejecting the Plan of Allocation will not affect the finality or binding nature of the

Settlement.

         1.21       “Postcard Notice” means the notice, as approved by the Court and as described in

¶3.1 and in the Preliminary Approval Order, substantially in the form attached hereto as Exhibit A-4,

which is to be emailed or mailed to potential Settlement Class Members informing them of the

Settlement contemplated by this Stipulation.

         1.22       “Preliminary Approval Order” means an order entered by the Court, substantially in

the form of Exhibit A attached hereto, granting, inter alia: (i) the preliminary approval of the

Settlement set forth in this Stipulation; (ii) certification of the Settlement Class for settlement

purposes; and (iii) approval for the mailing and emailing of the postcard notice (“Postcard Notice”),

publication of a summary notice (“Summary Notice”), and the posting of the Notice of Pendency

and Proposed Settlement of Class Action (“Notice”) and Proof of Claim and Release form (“Proof of

Claim”) on the case-designated website, substantially in the forms of Exhibits A-1 through A-4

attached hereto.

         1.23       “Proof of Claim” means the Proof of Claim and Release form for submitting a Claim.

Subject to approval of the Court, the Proof of Claim shall be substantially in the form attached hereto

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as Exhibit A-2, which a Settlement Class Member must complete and submit should that Settlement

Class Member seek to share in a distribution of the Net Settlement Fund.

         1.24       “Released Claims” means, to the fullest extent permitted by law or equity, any and all

claims, rights, controversies, duties, obligations, demands, allegations, arguments, losses, costs,

interest, penalties, fees, attorneys’ fees, expenses, rights, actions, debts, sums of money, suits,

contracts, agreements, judgments, matters, issues, promises, damages, liabilities, and causes of

action of every nature and description, whether known or unknown, contingent or non-contingent,

matured or unmatured, foreseen or unforeseen, disclosed or undisclosed, suspected or unsuspected,

discoverable or undiscoverable, concealed or hidden, liquidated or unliquidated, accrued or

unaccrued, at law or in equity, whether direct, representative, class or individual in nature, whether

arising under federal, state, or local statutory or common law or any other law, rule or regulation,

ordinance or administrative provision, whether foreign or domestic, that have been asserted, could

have been asserted, or could be asserted in the future in this Litigation or any other action or in any

other forum, against any or all of Defendants’ Released Persons that arise from or out of or are in

connection with or are based upon or relate in any way to both (a) the facts, matters, events,

transactions, acts, failures to act, occurrences, statements, representations, misrepresentations,

disclosures, claims, allegations, breaches of duty, and/or omissions which were or could have been

alleged in this Litigation, and (b) purchases or acquisitions by any Settlement Class Member of Pega

common stock during the Settlement Class Period or the settlement or resolution of the Litigation,

provided however that “Released Claims” does not release any claim by Defendants for insurance

coverage and does not include claims to enforce the Settlement, or any derivative or ERISA claims,

or the claims of any Person who submits a request for exclusion in connection with this Settlement




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that is accepted by the Court. “Released Claims” includes “Unknown Claims” as defined in ¶1.37

hereof.

          1.25      “Released Defendants’ Claims” means any and all claims and causes of action of

every nature and description whatsoever, including both known claims and Unknown Claims,

against Lead Plaintiffs, Lead Plaintiffs’ Counsel, or any Settlement Class Member that arise out of or

relate in any way to the institution, prosecution, or settlement of the claims against Defendants in the

Litigation, except for claims relating to the enforcement of the Settlement.

          1.26      “Released Defendant Party” or “Released Defendant Parties” or “Defendants’

Released Persons” mean any or all of Defendants and the Dismissed Defendant, and/or any or all of

their related parties, including, without limitation, any and all of their past, present, or future parents,

subsidiaries, affiliates, predecessors, successors, assigns, divisions, funds, joint ventures, and general

or limited partnerships, and each of their respective current or former officers, directors, trustees,

partners, members, controlling shareholders, contractors, auditors, principals, agents, managing

agents, employees, attorneys, accountants, banks or investment bankers, commercial bankers,

financial or investment advisors, consultants, advisors, underwriters, insurers, co-insurers, reinsurers

in their capacities as such, as well as each of the Individual Defendant’s and Dismissed Defendant’s

immediate family members, heirs, executors, personal or legal representatives, estates, beneficiaries,

predecessors, successors, legatees, devisees, administrators, spouses, receivers and trustees, settlors,

auditors, accountants, and assigns, as well as any trust of which any of the Defendants or the

Dismissed Defendant is the settlor or which is for the benefit of any of the Defendants or Dismissed

Defendant and/or member(s) of his family, and any person, partnership, firm, trust, corporation,

limited liability corporation, officer, director or other individual or entity in which any of the




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Defendants or Dismissed Defendant has a controlling interest or which is related to or affiliated with

any of the Defendants or Dismissed Defendant.

         1.27       “Releasing Plaintiffs Party” or “Releasing Plaintiffs Parties” mean each and every

Settlement Class Member, Lead Plaintiffs, Lead Counsel, Lead Plaintiffs’ Counsel, and each of their

respective past or present trustees, executors, administrators, officers, directors, partners, members,

employees, contractors, auditors, accountants, advisors (including financial advisors or consultants),

principals, agents, attorneys, associates, predecessors, successors, assigns, representatives, affiliates,

joint ventures, funds, shareholders, underwriters, insurers, personal or legal representatives, estates,

financial advisors or consultants, banks or investment bankers, parents, subsidiaries, general or

limited partners or partnerships, and limited liability companies; and the spouses, members of the

immediate families, representatives, and heirs of any Releasing Plaintiffs Party who is an individual,

as well as any trust of which any Releasing Plaintiffs Party is the settlor or which is for the benefit of

any of their immediate family members. Releasing Plaintiffs Parties does not include any Person

who would otherwise be a Member of the Settlement Class but who validly and timely requests

exclusion from the Settlement Class.

         1.28       “Settlement” means the resolution of the Litigation in accordance with the terms and

provisions of this Stipulation.

         1.29       “Settlement Amount” means Thirty Five Million U.S. Dollars (U.S. $35,000,000) to

be paid by wire transfer(s) or check(s) to the Escrow Agent pursuant to ¶2.2 of this Stipulation. The

Settlement Amount includes all Notice and Administration Expenses, any attorneys’ fees and

expenses to Lead Counsel and awards to Lead Plaintiffs pursuant to 15 U.S.C. §78u-4(a)(4) (as

allowed by the Court), Settlement Class Member benefits, and any other costs, expenses, or fees of

any kind whatsoever associated with the Settlement. For the avoidance of doubt, no portion of the

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Settlement Amount shall be used to pay the fees, costs, and expenses associated with providing

notice pursuant to the Class Action Fairness Act of 2005, 28 U.S.C. §1715, et seq. (“CAFA”) as

discussed below in ¶¶2.5 and 5.1.

         1.30       “Settlement Class” means “All persons and entities who purchased or otherwise

acquired the common stock of Pega between June 16, 2020 and May 9, 2022, inclusive, and

experienced loss.” Excluded from the Settlement Class are Defendants and the Dismissed Defendant

and their immediate families, the Company’s officers and directors at all relevant times, as well as

their immediate families, Defendants’ and the Dismissed Defendant’s legal representatives, heirs,

successors or assigns, and any entity in which Defendants or the Dismissed Defendant have or had a

controlling interest. Also excluded is any Person who properly excludes himself, herself, itself or

themselves by submitting a valid and timely request for exclusion. To the extent any Pega employee

benefit plan receives a distribution from the Net Settlement Fund, no portion shall be allocated to

any person or entity who is excluded from the Settlement Class by definition.

         1.31       “Settlement Class Member” or “Member of the Settlement Class” mean a Person who

falls within the definition of the Settlement Class as set forth in ¶1.30 above.

         1.32       “Settlement Class Period” means the period between June 16, 2020 and May 9, 2022,

inclusive.

         1.33       “Settlement Fund” means the Settlement Amount plus all interest and accretions

thereto.

         1.34       “Settlement Hearing” means the hearing set by the Court under Rule 23(e)(2) of the

Federal Rules of Civil Procedure to consider final approval of the Settlement.

         1.35       “Settling Parties” means, collectively, Defendants and Lead Plaintiffs, on behalf of

themselves and the Settlement Class.

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         1.36       “Tax” or “Taxes” mean any and all taxes, fees, levies, duties, tariffs, imposts, and

other charges of any kind (together with any and all interest, penalties, additions to tax and

additional amounts imposed with respect thereto) imposed by any governmental authority, including,

but not limited to, any local, state, and federal taxes on the Settlement Fund.

         1.37       “Unknown Claims” means (a) any and all Released Claims which any of the

Releasing Plaintiffs Parties do not know or suspect to exist in his, her, or its favor at the time of the

release of the Released Defendant Parties, which, if known by him, her, or it, might have affected

his, her, or its settlement with and release of the Released Defendant Parties, or might have affected

his, her, or its decision(s) with respect to the Settlement, including, but not limited to, whether or not

to object to this Settlement or seek exclusion from the Settlement Class; and (b) any and all Released

Defendants’ Claims that any of the Released Defendant Parties do not know or suspect to exist in

his, her, or its favor at the time of the release of Lead Plaintiffs, the Settlement Class, and Lead

Plaintiffs’ Counsel, which, if known by him, her, or it, might have affected his, her, or its settlement

and release of Lead Plaintiffs, the Settlement Class, and Lead Plaintiffs’ Counsel. With respect to

(a) any and all Released Claims against the Released Defendant Parties, and (b) any and all Released

Defendants’ Claims against Lead Plaintiffs, the Settlement Class, and Lead Plaintiffs’ Counsel, the

Settling Parties stipulate and agree that, upon the Effective Date, the Settling Parties shall expressly

waive, and each Releasing Plaintiffs Party and Released Defendant Party shall be deemed to have,

and by operation of the Judgment shall have expressly waived, the provisions, rights, and benefits of

California Civil Code §1542, which provides:

                 A general release does not extend to claims that the creditor or releasing party
         does not know or suspect to exist in his or her favor at the time of executing the
         release and that, if known by him or her, would have materially affected his or her
         settlement with the debtor or released party.



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The Settling Parties shall expressly waive, and each Releasing Plaintiffs Party and Released

Defendant Party shall be deemed to have, and by operation of the Judgment shall have, expressly

waived any and all provisions, rights, and benefits conferred by any law of any state or territory of

the United States, or principle of common law, which is similar, comparable, or equivalent to

California Civil Code §1542. The Releasing Plaintiffs Parties and Released Defendant Parties

acknowledge that they may hereafter discover facts, legal theories, or authorities in addition to or

different from those which he, she, it, or their counsel now knows or believes to be true with respect

to the subject matter of the Released Claims or Released Defendants’ Claims, but (a) the Releasing

Plaintiffs Parties shall expressly fully, finally, and forever waive, compromise, settle, discharge,

extinguish, and release, and each Releasing Plaintiffs Party shall be deemed to have waived,

compromised, settled, discharged, extinguished, and released, and upon the Effective Date, and by

operation of the Judgment shall have waived, compromised, settled, discharged, extinguished, and

released, fully, finally, and forever, any and all Released Claims against the Released Defendant

Parties, known or unknown, suspected or unsuspected, contingent or non-contingent, accrued or

unaccrued, whether or not concealed or hidden, which now exist, or heretofore have existed, or may

hereafter exist, upon any theory of law or equity now existing or coming into existence in the future,

including, but not limited to, conduct which is negligent, intentional, with or without malice, or a

breach of any duty, law, or rule, without regard to the subsequent discovery or existence of such

different or additional facts, legal theories, or authorities, and (b) the Released Defendant Parties

shall expressly fully, finally, and forever waive, compromise, settle, discharge, extinguish, and

release, and each Released Defendant Party shall be deemed to have waived, compromised, settled,

discharged, extinguished, and released, and upon the Effective Date, and by operation of the

Judgment shall have waived, compromised, settled, discharged, extinguished, and released, fully,

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finally, and forever, any and all Released Defendants’ Claims against Lead Plaintiffs, the Settlement

Class, and Lead Plaintiffs’ Counsel, known or unknown, suspected or unsuspected, contingent or

non-contingent, whether or not concealed or hidden, which now exist, or heretofore have existed,

upon any theory of law or equity now existing or coming into existence in the future, including, but

not limited to, conduct which is negligent, intentional, with or without malice, or a breach of any

duty, law or rule, without regard to the subsequent discovery or existence of such different or

additional facts, legal theories, or authorities. The Settling Parties acknowledge, and the Releasing

Plaintiffs Parties and Released Defendant Parties shall be deemed by operation of the Judgment to

have acknowledged, that the foregoing waiver was separately bargained for and is an essential

element of the Settlement of which this release is a part.

         2.         The Settlement

         2.1        The obligations incurred pursuant to the Stipulation are: (a) subject to approval by the

Court and the Judgment, reflecting such approval, becoming Final; and (b) in full and final

disposition of the Litigation, and any and all Released Claims and Released Defendants’ Claims

upon and subject to the terms and conditions set forth herein.

                    a.     The Settlement Amount

         2.2        In full and final settlement of the claims asserted in the Litigation and in

consideration of the releases specified in ¶¶4.1-4.2 herein, Defendants and/or their insurance carriers

on behalf of Defendants shall pay or cause to be paid the Settlement Amount into the Escrow

Account by wire transfer or check within ten (10) Business Days after the later of: (a) entry of the

Preliminary Approval Order; or (b) Lead Counsel having provided (i) a tax information number for

the Escrow Account; (ii) a completed wire transfer, ACH transfer, or similar anti-fraud payment

request form signed by an authorized representative of the Escrow Account; and (iii) all required


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wire and check funding instructions and information, including payee name, telephone, and email

contact information and a physical address for the Escrow Agent. The Escrow Agent shall deposit

the Settlement Amount plus any accrued interest in the Escrow Account.

         2.3        Other than Defendants’ obligation to pay or cause to be paid the Settlement Amount

into the Settlement Fund set forth in ¶2.2 herein, the Released Defendant Parties shall have no role

in, responsibility for, interest in, or liability whatsoever with respect to: (i) any act, omission, or

determination by Lead Counsel or the Claims Administrator, or any of their respective designees, in

connection with the administration of the Settlement or otherwise; (ii) the management, investment,

or distribution of the Settlement Fund; (iii) the Plan of Allocation; (iv) the determination,

administration, calculation, or payment of any Claims asserted against the Settlement Fund; (v) any

loss suffered by, or fluctuation in value of, the Settlement Fund; (vi) the payment or withholding of

any Taxes, expenses, and/or costs incurred in connection with the taxation of the Settlement Fund,

distributions or other payments from the Escrow Account, or the filing of any federal, state, or local

returns; or (vii) the payment of any other Notice and Administration Expenses.

         2.4        If the entire Settlement Amount is not timely deposited into the Escrow Account,

Lead Counsel may terminate the Settlement, but only if: (i) Lead Counsel has notified Defendants’

Counsel in writing of Lead Counsel’s intention to terminate the Settlement, and (ii) the entire

Settlement Amount is not transferred to the Escrow Account within three (3) Business Days after

Lead Counsel has provided such written notice.

         2.5        Other than the obligation to cause the payment of the Settlement Amount in

accordance with the terms of ¶2.2 and fees, costs, and expenses associated with providing notice

pursuant to the Class Action Fairness Act of 2005, 28 U.S.C. §1715 et seq. (“CAFA”) (as discussed

below in ¶5.1), the Released Defendant Parties shall have no obligation to make any other payments

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pursuant to the Stipulation, including without limitation, compensation to any Settlement Class

Member, payment of attorneys’ fees and expenses awarded by the Court, payment of any fees or

expenses incurred by any Settlement Class Member, Lead Counsel, or Lead Plaintiffs’ Counsel, or

interest on the Settlement Amount of any kind and relating to any time period (including prior to the

payment of the Settlement Amount in the Escrow Account).

                    b.     The Escrow Agent

         2.6        The Escrow Agent shall invest the Settlement Amount deposited pursuant to ¶2.2

hereof in United States Agency or Treasury Securities or other instruments backed by the Full Faith

& Credit of the United States Government or an Agency thereof, or fully insured by the United

States Government or an Agency thereof, or in money funds holding only instruments backed by the

Full Faith & Credit of the United States Government or an Agency thereof, and shall reinvest the

proceeds of these instruments as they mature in similar instruments at their then-current market rates.

All costs and risks related to the investment of the Settlement Fund in accordance with the

investment guidelines set forth in this paragraph shall be borne by the Settlement Fund, and the

Released Defendant Parties shall have no role in, responsibility for, interest in, or liability

whatsoever with respect to investment decisions or the actions of the Escrow Agent, or any

transactions executed by the Escrow Agent. The Escrow Agent, through the Settlement Fund, shall

indemnify and hold each of the Released Defendant Parties and their counsel harmless for the

actions of the Escrow Agent.

         2.7        The Escrow Agent shall not disburse the Settlement Fund except as provided in this

Stipulation, by an order of the Court, or with the prior written agreement of Defendants’ Counsel.

         2.8        Subject to further order(s) and/or directions as may be made by the Court, or as

provided in this Stipulation, the Escrow Agent is authorized to execute such transactions as are


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consistent with the terms of this Stipulation. The Released Defendant Parties shall have no role in,

responsibility for, interest in, or liability whatsoever with respect to the actions of the Escrow Agent,

or any transaction executed by the Escrow Agent. The Escrow Agent, through the Settlement Fund,

shall indemnify and hold each of the Released Defendant Parties and their counsel harmless for any

transaction executed by the Escrow Agent.

         2.9        All funds held by the Escrow Agent shall be deemed and considered to be in custodia

legis of the Court, and shall remain subject to the jurisdiction of the Court, until such time as such

funds shall be distributed pursuant to this Stipulation and/or further order(s) of the Court.

         2.10       Notwithstanding the fact that the Effective Date of the Settlement has not yet

occurred, Lead Counsel may pay from the Settlement Fund up to $700,000, without further approval

from Defendants and/or order of the Court, for Notice and Administration Expenses. Following the

Effective Date, Lead Counsel may pay all Notice and Administration Expenses without further

approval by Defendants or order of the Court.

         2.11       It shall be Lead Counsel’s responsibility to disseminate the Postcard Notice, Notice,

Proof of Claim, and Summary Notice to potential Settlement Class Members in accordance with this

Stipulation and as ordered by the Court. The Released Defendant Parties shall have no responsibility

for, obligation, or liability whatsoever with respect to the Notice and Administration Expenses, nor

shall they have any responsibility, obligation, or liability whatsoever for any claims with respect

thereto. The Escrow Agent, through the Settlement Fund, shall indemnify and hold each of the

Released Defendant Parties and their counsel harmless for any Notice and Administration Expenses.

                    c.     Taxes

         2.12       The Settling Parties agree as follows:




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                    (a)   The Settling Parties and the Escrow Agent agree to treat the Settlement Fund

as being at all times a “qualified settlement fund” within the meaning of Treas. Reg. §1.468B-1, and

the regulations promulgated thereunder. The Settling Parties and the Escrow Agent further agree

that the Settlement Fund shall be established pursuant to the Court’s subject matter jurisdiction

within the meaning of Treas. Reg. §1.468B-1(c)(1). In addition, the Escrow Agent shall timely

make such elections as necessary or advisable to carry out the provisions of this ¶2.12, including the

“relation-back election” (as defined in Treas. Reg. §1.468B-1) back to the earliest permitted date.

Such elections shall be made in compliance with the procedures and requirements contained in such

regulations. It shall be the responsibility of the Escrow Agent to timely and properly prepare and

deliver the necessary documentation for signature by all necessary parties, and thereafter to cause the

appropriate filing to occur.

                    (b)   For the purpose of §1.468B of the Internal Revenue Code of 1986, as

amended, and the regulations promulgated thereunder, the “administrator” (as defined in Treas. Reg.

§1.468B-2(k)(3)) shall be the Escrow Agent. The Escrow Agent shall timely and properly file all

informational and other federal, state, or local tax returns necessary or advisable with respect to the

earnings on the Settlement Fund (including, without limitation, the returns described in Treas. Reg.

§1.468B-2(k)). Such returns (as well as the elections described in ¶2.12(a) hereof) shall be

consistent with this ¶2.12 and in all events shall reflect that all Taxes (including any estimated

Taxes, interest, or penalties) on the income earned by the Settlement Fund shall be paid out of the

Settlement Fund as provided in ¶2.12(c) hereof.

                    (c)   All (i) Taxes (including any estimated Taxes, interest, or penalties) arising

with respect to the income earned by the Settlement Fund, including any Taxes or tax detriments that

may be imposed upon the Released Defendant Parties or their counsel with respect to any income

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earned by the Settlement Fund for any period, after the deposit of the Settlement Amount, during

which the Settlement Fund does not qualify as a “qualified settlement fund” for federal or state

income tax purposes, and (ii) expenses and costs incurred in connection with the operation and

implementation of this ¶2.12 (including, without limitation, expenses of tax attorneys and/or

accountants and mailing and distribution costs and expenses relating to filing (or failing to file) the

returns described in this ¶2.12) (“Tax Expenses”), shall be paid out of the Settlement Fund; in all

events, the Released Defendant Parties and their counsel shall have no liability, obligation, or

responsibility whatsoever for the Taxes or the Tax Expenses. The Escrow Agent, through the

Settlement Fund, shall indemnify and hold each of the Released Defendant Parties and their counsel

harmless for Taxes and Tax Expenses (including, without limitation, Taxes payable by reason of any

such indemnification). Further, Taxes and Tax Expenses shall be treated as, and considered to be, a

cost of administration of the Settlement Fund and shall be timely paid by the Escrow Agent out of

the Settlement Fund without prior order from the Court and the Escrow Agent shall be authorized

(notwithstanding anything herein to the contrary) to withhold from distribution to Authorized

Claimants any funds necessary to pay such amounts, including the establishment of adequate

reserves for any Taxes and Tax Expenses (as well as any amounts that may be required to be

withheld under Treas. Reg. §1.468B-2(l)(2)); neither the Released Defendant Parties nor their

counsel are responsible nor shall they have any liability, obligation, or responsibility for any Taxes

or Tax Expenses. The Settling Parties hereto agree to cooperate with the Escrow Agent, each other,

and their tax attorneys and accountants to the extent reasonably necessary to carry out the provisions

of this ¶2.12.

         2.13       This is not a claims-made settlement. As of the Effective Date, the Released

Defendant Parties, and/or any other Person funding the Settlement on their behalf, shall not have any

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right to the return of the Settlement Fund or any portion thereof for any reason, and shall not have

liability should Claims made exceed the amount available in the Settlement Fund for payment of

such Claims. The Released Defendant Parties shall not be liable for the loss of any portion of the

Settlement Fund, nor have any liability, obligation, or responsibility for the payment of Claims,

Taxes, legal fees, or any other expenses payable from the Settlement Fund.

                    d.     Termination of Settlement

         2.14       In the event that this Stipulation is not approved or the Settlement is not approved, or

is terminated, canceled, or the Effective Date otherwise fails to occur for any reason, including,

without limitation, in the event the Judgment is reversed or vacated or altered following any appeal

taken therefrom, or is successfully collaterally attacked, the Settlement Fund less Notice and

Administration Expenses or Taxes or Tax Expenses paid, incurred, or due and owing pursuant to

¶¶2.10 and 2.12 hereof in connection with the Settlement provided for herein, shall be refunded

pursuant to written instructions from Defendants’ Counsel in accordance with ¶7.4 herein.

         3.         Preliminary Approval Order and Settlement Hearing

         3.1        Promptly after execution of this Stipulation, Lead Counsel shall submit this

Stipulation together with its Exhibits to the Court and shall apply for entry of an order (the

“Preliminary Approval Order”), substantially in the form of Exhibit A attached hereto, requesting,

inter alia, the preliminary approval of the Settlement set forth in this Stipulation pursuant to Federal

Rule of Civil Procedure 23(e)(2), certification of the Settlement Class for settlement purposes, and

approval for the mailing of the Postcard Notice and publication of the Summary Notice, substantially

in the forms of Exhibits A-4 and A-3, respectively, attached hereto. The Postcard Notice shall direct

Settlement Class Members to the Settlement website to access the Notice, which shall contain the

general terms of the Settlement set forth in this Stipulation, the proposed Plan of Allocation, the


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general terms of the Fee and Expense Application, as defined in ¶6.1 hereof, and the date of the

Settlement Hearing, as defined in ¶1.34 and below.

         3.2        Within ten (10) Business Days after entry of the Preliminary Approval Order, Pega

shall use its best efforts to provide or cause to be provided to the Claims Administrator, at no cost to

Lead Plaintiffs or the Settlement Class, a list in electronic format, containing the names and

addresses and email addresses, if available, of record holders of Pega common stock during the

Settlement Class Period, as set forth in the records of its transfer agent. The Settling Parties

acknowledge that any information provided to the Claims Administrator and Lead Counsel pursuant

to this Paragraph shall be treated as confidential and will be used by the Claims Administrator and

Lead Counsel solely to deliver the Postcard Notice and/or implement the Settlement, including the

Plan of Allocation. It shall be solely Lead Counsel’s responsibility to disseminate the Postcard

Notice and Summary Notice to the Settlement Class in accordance with this Stipulation and as

ordered by the Court. Settlement Class Members shall have no recourse as to the Released

Defendant Parties with respect to any claims they may have that arise from any failure of the notice

process.

         3.3        Lead Counsel shall request that, after notice is given and not earlier than one-hundred

(100) calendar days after entry of the Preliminary Approval Order, the Court hold a hearing (the

“Settlement Hearing”) and approve the Settlement of the Litigation as set forth herein. At or after

the Settlement Hearing, Lead Counsel also will request that the Court approve the proposed Plan of

Allocation and the Fee and Expense Application. The Settlement is expressly conditioned upon,

among other things, the entry of a Judgment substantially in the form attached hereto as Exhibit B.




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         4.         Releases

         4.1        Upon the Effective Date, as defined in ¶1.8 hereof, Lead Plaintiffs shall have, and

each and every Releasing Plaintiffs Party shall be deemed to have, and by operation of the Judgment

shall have, irrevocably and unconditionally, fully, finally, and forever waived, released, relinquished,

discharged, and dismissed with prejudice each and every one of the Released Claims against each

and every one of the Released Defendant Parties and shall forever and permanently be barred and

enjoined from filing, commencing, instituting, continuing, asserting, intervening in, prosecuting,

maintaining, or enforcing any action or other proceeding in any forum (including, but not limited to,

any state or federal court of law or equity, arbitration tribunal, or administrative forum), asserting

any of the Released Claims against any and all of the Released Defendant Parties, whether or not

such Releasing Plaintiffs Party executes and delivers the Proof of Claim or shares in the Net

Settlement Fund. Claims to enforce the terms of this Stipulation are not released. This Stipulation

fully, finally, and completely extinguishes the liability of each Released Defendant Party as to any

and all Released Claims for purposes of 15 U.S.C. §78u-4(f)(7)(A)(ii).

         4.2        Upon the Effective Date, each of the Released Defendant Parties shall be deemed to

have, and by operation of the Judgment shall have, fully, finally, and forever released, relinquished,

and discharged all Released Defendants’ Claims against Lead Plaintiffs, each and all of the

Settlement Class Members, and Lead Plaintiffs’ Counsel. Claims to enforce the terms of this

Stipulation are not released.

         5.         Administration and Calculation of Claims, Final Awards, and
                    Supervision and Distribution of the Settlement Fund

         5.1        The Claims Administrator, subject to such supervision and direction of Lead Counsel

and the Court as may be necessary or as circumstances may require, shall administer and calculate

the Claims submitted by Settlement Class Members and shall oversee distribution of the Net

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Settlement Fund to Authorized Claimants. With the exception that Defendants shall be responsible

for providing any required notice under the CAFA, including the costs and expenses thereof, the

Released Defendant Parties and Defendants’ Counsel shall have no role in, responsibility for, interest

in, liability, or obligation whatsoever in the administration of the Settlement or the actions or

decisions of the Claims Administrator, and shall have no liability whatsoever to the Releasing

Plaintiffs Parties, including Lead Plaintiffs, any other Settlement Class Members, or Lead Plaintiffs’

Counsel, in connection with such administration, including, but not limited to: (i) any act, omission,

or determination by Lead Counsel, the Escrow Agent, and/or the Claims Administrator, or any of

their respective designees or agents, in connection with the administration of the Settlement or

otherwise; (ii) the management or investment of the Settlement Fund or the Net Settlement Fund, or

the distribution of the Net Settlement Fund; (iii) the Plan of Allocation; (iv) the determination,

administration, calculation, or payment of any Claims asserted against the Settlement Fund; (v) any

losses suffered by, or fluctuations in value of, the Settlement Fund; or (vi) the payment or

withholding of any Taxes, expenses, and/or costs incurred with the taxation of the Settlement Fund

or the filing of any federal, state, or local returns, nor shall any discovery be taken of any Releasing

Plaintiffs Parties or Released Defendant Parties in connection therewith.

         5.2        The Settlement Fund shall be applied as follows:

                    (a)    to pay all Notice and Administration Expenses;

                    (b)    to pay the Taxes and Tax Expenses;

                    (c)    to pay attorneys’ fees and expenses of Lead Plaintiffs’ Counsel and to pay any

awards to Lead Plaintiffs for their reasonable costs and expenses (including lost wages) pursuant to

15 U.S.C. §78u-4(a)(4) in connection with their representation of the Settlement Class, if and to the

extent allowed by the Court (the “Fee and Expense Award”); and

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                    (d)    after the Effective Date, to distribute the Net Settlement Fund to Authorized

Claimants as provided by this Stipulation, the Plan of Allocation, or the orders of the Court.

         5.3        After the Effective Date, and in accordance with the terms of this Stipulation, the Plan

of Allocation, or such further approval and further order(s) of the Court as may be necessary or as

circumstances may require, the Net Settlement Fund shall be distributed to Authorized Claimants,

subject to and in accordance with the following provisions of this Stipulation.

         5.4        Within one hundred-twenty (120) calendar days after the mailing of the Postcard

Notice or such other time as may be set by the Court, each Settlement Class Member who seeks to

receive any payment pursuant to the terms of this Stipulation shall be required to submit to the

Claims Administrator a completed Proof of Claim, substantially in the form of Exhibit A-2 attached

hereto, signed under penalty of perjury and supported by such documents as are specified in the

Proof of Claim.

         5.5        Except as otherwise ordered by the Court or provided herein, all Settlement Class

Members who fail to timely submit a valid Proof of Claim within such period, or such other period

as may be ordered by the Court, or otherwise allowed, shall be forever barred from receiving any

payments pursuant to this Stipulation and the Settlement set forth herein, but will, in all other

respects, be subject to and bound by the provisions of this Stipulation, the releases contained herein,

and the Judgment, and will be barred from bringing any action against the Released Defendant

Parties concerning the Released Claims. Notwithstanding the foregoing, Lead Counsel shall have

the discretion (but not an obligation) to accept late-submitted Claims for processing by the Claims

Administrator so long as the distribution of the Net Settlement Fund to Authorized Claimants is not

materially delayed thereby. No Person shall have any claim against Lead Plaintiffs, Lead Plaintiffs’




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Counsel, the Claims Administrator, or any Settlement Class Member by reason of the exercise or

non-exercise of such discretion.

         5.6        Each Proof of Claim shall be submitted to and reviewed by the Claims Administrator,

under the supervision of Lead Counsel, who shall determine, in accordance with this Stipulation and

the approved Plan of Allocation, the extent, if any, to which each Claim shall be allowed, subject to

review by the Court pursuant to ¶5.8 below.

         5.7        Proof of Claim forms that do not meet the submission requirements may be rejected.

Prior to rejecting a Proof of Claim in whole or in part, the Claims Administrator shall communicate

with the claimant in writing to give the claimant the chance to remedy any curable deficiencies in the

Proof of Claim submitted. The Claims Administrator, under the supervision of Lead Counsel, shall

notify, in a timely fashion and in writing, all claimants whose Claims the Claims Administrator

proposes to reject in whole or in part for curable deficiencies, setting forth the reasons therefor, and

shall indicate in such notice that the claimant whose Claim is to be rejected has the right to a review

by the Court if the claimant so desires and complies with the requirements of ¶5.8 below.

         5.8        If any claimant whose timely Claim has been rejected in whole or in part for curable

deficiency desires to contest such rejection, the claimant must, within twenty (20) calendar days after

the date of mailing of the notice required in ¶5.7 above, or a lesser period of time if the Claim was

untimely, serve upon the Claims Administrator a notice and statement of reasons indicating the

claimant’s grounds for contesting the rejection along with any supporting documentation, and

requesting a review thereof by the Court. If a dispute concerning a Claim cannot be otherwise

resolved, Lead Counsel shall thereafter present the claimant’s request for review to the Court.

         5.9        Each claimant who declines to be excluded from the Settlement Class shall be

deemed to have submitted to the jurisdiction of the Court with respect to the claimant’s Claim,

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including, but not limited to, all releases provided for herein and in the Judgment, and the Claim will

be subject to investigation and discovery under the Federal Rules of Civil Procedure, provided that

such investigation and discovery shall be limited to the claimant’s status as a Settlement Class

Member and the validity and amount of the claimant’s Claim. In connection with processing the

Proofs of Claim, no discovery shall be allowed on the merits of the Litigation or the Settlement. All

proceedings with respect to the administration, processing, and determination of Claims and the

determination of all controversies relating thereto, including disputed questions of law and fact with

respect to the validity of Claims, shall be subject to the jurisdiction of the Court, but shall not, in any

event, delay or affect the finality of the Judgment. All Settlement Class Members, other claimants,

and parties to this Settlement expressly waive trial by jury (to the extent any such right may exist)

and any right of appeal or review with respect to such determinations.

         5.10       Following the Effective Date, the Net Settlement Fund shall be distributed to the

Authorized Claimants substantially in accordance with the Plan of Allocation set forth in the Notice

and approved by the Court. No distributions will be made to Authorized Claimants who would

otherwise receive a distribution of less than $10.00. If there is any balance remaining in the Net

Settlement Fund after a reasonable period of time after the date of the distribution of the Net

Settlement Fund, Lead Counsel shall, if feasible, reallocate such balance among Authorized

Claimants who negotiated the checks sent in the initial distribution and who would receive a

minimum of $10.00. These redistributions shall be repeated until the balance remaining in the Net

Settlement Fund is de minimis. Any de minimis balance that still remains in the Net Settlement Fund

after such reallocation(s) and payments, which is not feasible or economical to reallocate, shall be

donated to an appropriate non-sectarian, non-profit charitable organization(s) unaffiliated with any

party or their counsel serving the public interest selected by Lead Counsel.

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         5.11       The Released Defendant Parties shall have no role in, responsibility for, interest in, or

liability whatsoever with respect to the distribution of the Net Settlement Fund, the Plan of

Allocation, the determination, administration, or calculation of Claims, the payment or withholding

of Taxes or Tax Expenses, or any losses incurred in connection therewith. No Person shall have any

claim of any kind against the Released Defendant Parties with respect to the matters set forth in

¶¶5.1-5.13 hereof; and the Releasing Plaintiffs Parties release the Released Defendant Parties from

any and all liability and claims arising from or with respect to the administration, investment, or

distribution of the Settlement Fund.

         5.12       No Person shall have any claim against the Released Defendant Parties, Lead

Plaintiffs, Lead Plaintiffs’ Counsel, the Claims Administrator, or any other Person designated by

Lead Counsel based on determinations or distributions made substantially in accordance with this

Stipulation and the Settlement contained herein, the Plan of Allocation, or further order(s) of the

Court.

         5.13       It is understood and agreed by the Settling Parties that any proposed Plan of

Allocation of the Net Settlement Fund, including, but not limited to, any adjustments to an

Authorized Claimant’s Claim set forth therein, is not a part of this Stipulation and is to be considered

by the Court separately from the Court’s consideration of the fairness, reasonableness, and adequacy

of the Settlement set forth in this Stipulation, and any order or proceeding relating to the Plan of

Allocation shall not operate to terminate or cancel this Stipulation or affect the finality of the Court’s

Judgment approving this Stipulation and the Settlement set forth herein, or any other orders entered

pursuant to the Stipulation.




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         6.         Lead Plaintiffs’ Counsel’s Attorneys’ Fees and Expenses

         6.1        Lead Counsel may submit an application or applications (the “Fee and Expense

Application”) on behalf of Lead Plaintiffs’ Counsel for an award from the Settlement Fund for:

(a) an award of attorneys’ fees; plus (b) expenses or charges in connection with prosecuting the

Litigation; plus (c) any interest earned on such attorneys’ fees and expenses at the same rate and for

the same periods as earned by the Settlement Fund (until paid) as may be awarded by the Court.

Any such fees and expenses awarded shall be paid from the Settlement Fund. Any application for

fees and expenses may include a request for reimbursement of Lead Plaintiffs’ reasonable costs and

expenses in connection with their representation of the Settlement Class pursuant to 15 U.S.C. §78u-

4(a)(4). Lead Counsel reserves the right to make additional applications for fees and expenses

incurred.

         6.2        The amount of attorneys’ fees and expenses awarded by the Court is within the sole

discretion of the Court. Any fees and expenses, as awarded by the Court, shall be paid to Lead

Counsel from the Settlement Fund, as ordered, immediately after the Court executes the Judgment

and an order awarding such fees and expenses, notwithstanding the existence of any timely filed

objections thereto or to the Settlement, or potential for appeal therefrom, or collateral attack on the

Settlement or any part thereof. Lead Counsel shall thereafter allocate the attorneys’ fees among

Lead Plaintiffs’ Counsel in a manner in which it in good faith believes reflect the contribution of

such counsel to the initiation, prosecution, and resolution of the Litigation. Defendants take no

position on Lead Counsel’s fee and expense application or allocation.

         6.3        In the event that the Effective Date does not occur, or the Judgment or the order

making the Fee and Expense Award is reversed or modified, or this Stipulation is canceled or

terminated for any other reason, and such reversal, modification, cancellation, or termination


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becomes Final and not subject to review, and in the event that the Fee and Expense Award has been

paid to any extent, then Lead Counsel, including its partners and/or shareholders, and such other

Lead Plaintiffs’ Counsel, including their law firms, partners, and/or shareholders, and Lead Plaintiffs

who have received any portion of the Fee and Expense Award shall, within ten (10) Business Days

from receiving notice from Defendants’ Counsel or from a court of appropriate jurisdiction reversing

or modifying the Judgment or Fee and Expense Award, refund to the Settlement Fund all such fees

and expenses previously paid to them from the Settlement Fund plus interest thereon at the same rate

as earned by the Settlement Fund in an amount consistent with such reversal, modification,

cancellation, or termination. Any refunds required pursuant to this ¶6.3 shall be the several

obligation of Lead Plaintiffs’ Counsel, including their law firms, partners, and/or shareholders, and

Lead Plaintiffs if they received fees or expenses to make appropriate refunds or repayments to the

Settlement Fund. Each such Lead Plaintiffs’ Counsel or Lead Plaintiffs receiving fees and expenses,

as a condition of receiving such fees and expenses, on behalf of themselves and each of their

partners and/or shareholders, agrees that (a) such Person and its partners, shareholders, and/or

members are subject to the jurisdiction of the Court for the purpose of enforcing the provisions of

this paragraph, and (b) are severally liable for the full amount of all fees, expenses, and costs paid

from the Settlement Fund. Without limitation, Lead Plaintiffs’ Counsel and Lead Plaintiffs and their

partners, shareholders, and/or members agree that the Court may, upon application of Defendants

and notice to Lead Plaintiffs’ Counsel, summarily issue orders, including, but not limited to,

judgments and attachment orders, and may make appropriate findings of or sanctions for contempt,

should such law firms or their partners, shareholders, or members fail to timely repay fees and

expenses pursuant to this paragraph.




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         6.4        The procedure for and the allowance or disallowance by the Court of any applications

by any Lead Plaintiffs’ Counsel for attorneys’ fees and expenses to be paid out of the Settlement

Fund is not part of the Settlement set forth in this Stipulation, and is to be considered by the Court

separately from the Court’s consideration of the fairness, reasonableness, and adequacy of the

Settlement set forth in this Stipulation, and shall have no effect on the terms of the Stipulation or on

the validity or enforceability of this Settlement. The approval of the Settlement, and it becoming

Final, shall not be contingent on the award of attorneys’ fees and expenses, any award to Lead

Plaintiffs, Lead Counsel, or Lead Plaintiffs’ Counsel, nor any appeals from such awards. Any order

or proceeding relating to the Fee and Expense Application, or any appeal from any order relating

thereto or reversal or modification thereof, shall not operate to terminate or cancel this Stipulation, or

affect or delay the finality of the Judgment approving this Stipulation and the Settlement of the

Litigation set forth therein, or any other orders entered pursuant to the Stipulation of Settlement.

         6.5        Any fees and/or expenses awarded by the Court shall be paid solely from the

Settlement Fund. With the sole exception of Defendants’ obligation to cause the Settlement Amount

to be paid into the Escrow Account as provided for in ¶2.2 and the fees, costs, and expenses

associated with providing notice under CAFA, as provided in ¶5.1, the Released Defendant Parties

shall have no responsibility for, no obligation, and no liability whatsoever with respect to, any

payment of attorneys’ fees and/or expenses (including Taxes) to Lead Plaintiffs’ Counsel, or any

other counsel or Person who receives payment from the Settlement Fund.

         6.6        The Released Defendant Parties shall have no responsibility for, no obligation, and no

liability whatsoever with respect to, the allocation among Lead Plaintiffs’ Counsel and/or any other

Person who may assert some claim thereto, of any Fee and Expense Award that the Court may make

in the Litigation.

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         6.7        The Released Defendant Parties shall have no responsibility for, no obligation, and no

liability whatsoever with respect to, any attorneys’ fees, costs, or expenses (including Taxes)

incurred by or on behalf of any Settlement Class Member, whether or not paid from the Escrow

Account.

         7.         Conditions of Settlement, Effect of Disapproval, Cancellation, or
                    Termination

         7.1        The Effective Date of the Settlement shall be conditioned on the occurrence of all of

the following events:

                    (a)    the Court has entered the Preliminary Approval Order, or an order

substantially in the form of Exhibit A attached hereto, directing notice to the Settlement Class, as

required by ¶3.1 hereof;

                    (b)    the Settlement Amount has been deposited into the Escrow Account;

                    (c)    Defendants have not exercised their option to terminate the Settlement

pursuant to ¶7.3 hereof;

                    (d)    the Court has entered the Judgment, or a judgment substantially in the form of

Exhibit B attached hereto;

                    (e)    the Judgment has become Final, as defined in ¶1.11 hereof; and

                    (f)    the Litigation has been dismissed with prejudice.

         7.2        Upon the Effective Date, any and all remaining interest or right of the Defendants and

any other Persons who contributed to the Settlement Fund in or to the Settlement Fund, if any, shall

be absolutely and forever extinguished. The Released Defendant Parties shall not have any liability,

obligation, or responsibility for the payment of Claims, Taxes, legal fees, Notice and Administration

Expenses, Fee and Expense Awards, or any other expenses payable from the Settlement Fund. If the

conditions specified in ¶7.1 hereof are not met, then the Settlement shall be canceled and terminated
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subject to ¶¶7.4-7.6 hereof unless the Settling Parties mutually agree in writing to proceed with the

Settlement. For avoidance of doubt, no order of the Court or modification or reversal on appeal of

any order of the Court concerning the Plan of Allocation or the amount of any attorneys’ fees,

expenses, and interest awarded by the Court to Lead Counsel or expenses to Lead Plaintiffs shall

operate to terminate or cancel this Stipulation or constitute grounds for cancellation or termination of

the Stipulation.

         7.3        As set forth in a separate agreement (the “Supplemental Agreement”) executed

between Lead Plaintiffs and Defendants, by and through their counsel, Defendants may terminate the

Settlement and render it null and void in the event that certain thresholds are met with respect to the

Members of the Settlement Class who timely and validly exclude themselves from the Settlement

Class. The Settling Parties agree to maintain the confidentiality of the Supplemental Agreement,

which is being executed concurrently herewith. The Supplemental Agreement shall not be filed with

the Court and its terms shall not be disclosed in any other manner (other than in the statements

herein and in the Notice, to the extent necessary, or as otherwise provided in the Supplemental

Agreement or by operation of law), unless and until the Court requires the Settling Parties to file the

Supplemental Agreement or disclose its terms. If submission of the Supplemental Agreement is

ordered by the Court or is necessary to resolve a dispute between Lead Plaintiffs and Defendants, the

Settling Parties will seek to have the Supplemental Agreement submitted to the Court in camera or

filed under seal, but such disclosure shall be carried out to the fullest extent possible in accordance

with the practices of the Court as to preserve the confidentiality of the Supplemental Agreement,

particularly the termination conditions.

         7.4        Unless otherwise ordered by the Court, in the event this Stipulation is not approved or

this Stipulation or the Settlement is terminated, or canceled, or the Effective Date otherwise fails to

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occur for any reason, including, without limitation, in the event the Judgment is reversed or vacated

or altered following any appeal taken therefrom, or is successfully collaterally attacked, within ten

(10) Business Days after written notification of such event is sent by either Defendants’ Counsel or

Lead Counsel to the Escrow Agent, the Settlement Fund (including accrued interest), less Taxes, Tax

Expenses and Notice and Administration Expenses which have either been disbursed pursuant to

¶¶2.10 and/or 2.12 hereof, or are chargeable to the Settlement Fund pursuant to ¶¶2.10 and/or 2.12

hereof, shall be refunded by the Escrow Agent to the entities that paid to the Settlement Fund on

behalf of the Defendants in proportion to their respective contribution. Such refunds shall be

pursuant to written instructions from Defendants’ Counsel. The Escrow Agent or its designee shall

apply for any tax refund owed on the Settlement Amount and pay the proceeds, after deduction of

any fees or expenses incurred in connection with such application(s) for refund to the entities that

paid to the Settlement Fund on behalf of the Defendants. Such payments shall be pursuant to written

instructions from Defendants’ Counsel.

         7.5        Lead Plaintiffs and each Defendant shall have the right to terminate the Settlement

and this Stipulation by providing written notice of their election to do so (“Termination Notice”) to

all other parties hereto within thirty (30) calendar days of: (a) the Court’s refusal to enter the

Preliminary Approval Order in any material respect; (b) the Court’s refusal to approve this

Stipulation in any material respect; (c) the Court’s refusal to enter the Judgment in any material

respect; (d) entry of a Court order refusing to dismiss the Litigation with prejudice; (e) the date upon

which the Judgment is reversed or vacated or altered in any material respect following any appeal

taken therefrom, or is successfully collaterally attacked in any material respect; or (f) the failure of

the Effective Date to occur for any reason. For avoidance of doubt, no order of the Court or

modification or reversal on appeal of any order of the Court concerning the Plan of Allocation or the

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amount of any attorneys’ fees, expenses, and interest awarded by the Court to Lead Counsel or

expenses to Lead Plaintiffs shall operate to terminate or cancel this Stipulation or constitute grounds

for cancellation or termination of the Stipulation.

         7.6        In the event that this Stipulation is not approved in any material respect or this

Stipulation or the Settlement is terminated, canceled, or the Effective Date otherwise fails to occur

for any reason, the Settling Parties shall not forfeit or waive any factual or legal defense or

contention in the Litigation and shall be restored to their respective positions in the Litigation as of

March 4, 2024. In such event, the terms and provisions of the Stipulation, with the exception of

¶¶1.1-1.37, 2.8-2.10, 2.12-2.14, 6.3, 7.4-7.6, 8.1, and 9.5 hereof, shall have no further force and

effect with respect to the Settling Parties and shall not be used in this Litigation or in any other

proceeding for any purpose, and any judgment or order entered by the Court in accordance with the

terms of this Stipulation shall be treated as vacated, nunc pro tunc. No order of the Court or

modification or reversal on appeal of any order of the Court concerning the Plan of Allocation or any

Fee and Expense Award shall operate to terminate or cancel this Stipulation or constitute grounds for

cancellation or termination of this Stipulation.

         7.7        If the Effective Date does not occur, or if this Stipulation is terminated pursuant to its

terms, neither Lead Plaintiffs nor Lead Plaintiffs’ Counsel shall have any obligation to repay any

amounts disbursed pursuant to ¶¶2.10 or 2.12. In addition, any amounts already incurred pursuant to

¶¶2.10 or 2.12 hereof at the time of such termination or cancellation but which have not been paid,

shall be paid by the Escrow Agent in accordance with the terms of this Stipulation prior to the

balance being refunded in accordance with ¶¶2.14 and 7.4 hereof.




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         8.         No Admission of Wrongdoing

         8.1        Neither the Settlement, this Stipulation (whether or not consummated), including the

Exhibits hereto and the Plan of Allocation contained therein (or any other plan of allocation that may

be approved by the Court), the negotiations leading to the execution of this Stipulation and the

Settlement, nor any proceedings, communications, drafts, documents, or agreements taken pursuant

to or in connection with this Stipulation, and/or approval of the Settlement (including any arguments

proffered in connection therewith):

                    (a)    shall be offered or received against or to the prejudice of any Defendant as

evidence of or construed as or deemed to be evidence of any presumption, concession, finding, or

admission by any Defendant of the truth of any allegations by Lead Plaintiffs or any Member of the

Settlement Class or the validity of any claim that has been or could have been asserted in the

Litigation, or the deficiency of any defense that has been or could have been asserted in the

Litigation or in any other litigation, including, but not limited to, litigation of the Released Claims,

or of any liability, damages, negligence, fault, wrongdoing, or omission of any kind of any of the

Defendants or in any way referred to for any other reason as against any of the Defendants, in any

civil, criminal, or administrative action or proceeding, other than such proceedings as may be

necessary to effectuate the provisions of this Stipulation;

                    (b)    shall be offered or received against or to the prejudice of Lead Plaintiffs or

any Settlement Class Member as evidence that Lead Plaintiffs’ claims in any way lack merit or the

validity of any affirmative defense that has been or could have been asserted in the Litigation,

including, but not limited to, litigation of the Released Claims;

                    (c)    shall be offered or received against or to the prejudice of any Defendant as

evidence of a presumption, concession, or admission of any fault, misrepresentation, scheme, or


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omission with respect to any statement or written document approved or made by any Defendant, or

against Lead Plaintiffs or any Member of the Settlement Class as evidence of any infirmity in the

claims of Lead Plaintiffs and the Settlement Class;

                    (d)    shall be offered or received against or to the prejudice of any Defendant as

evidence of a presumption, concession, or admission of any liability, damages, negligence, fault,

wrongdoing, or omission, or in any way referred to for any other reason as against any of the parties

to this Stipulation, in any other civil, criminal, or administrative action or proceeding in any court,

administrative agency, or other tribunal; provided, however, that if this Stipulation is approved by

the Court, Defendants and the Released Defendant Parties may refer to it to effectuate the release

granted them hereunder; or

                    (e)    shall be construed against Defendants, Lead Plaintiffs, or the Settlement Class

as evidence of a presumption, concession, or admission that the consideration to be given hereunder

represents the amount which could be or would have been recovered after trial or in any proceeding

other than this Settlement.

         9.         Miscellaneous Provisions

         9.1        The Settling Parties: (a) acknowledge that it is their intent to consummate this

Settlement; and (b) agree to cooperate to the extent reasonably necessary to effectuate and

implement all terms and conditions of this Stipulation and to exercise their best efforts to accomplish

the foregoing terms and conditions of this Stipulation.

         9.2        The Settling Parties intend this Settlement to be a final and complete resolution of all

disputes between them with respect to the Litigation. The Settlement compromises all claims that

were or are contested and shall not be deemed an admission by any Settling Party as to the merits of

any claim or defense. Pursuant to 15 U.S.C. §78u-4(c)(1), the Settling Parties agree that the


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Judgment will contain a finding that, during the course of the Litigation, the Settling Parties and their

respective counsel at all times complied with the requirements of Federal Rule of Civil Procedure

11. The Settling Parties agree that the Settlement Amount and the other terms of the Settlement

were negotiated in good faith by the Settling Parties, and reflect a settlement that was reached

voluntarily after consultation with competent legal counsel. The Settling Parties reserve their right

to rebut, in a manner that such Party determines to be appropriate, any contention made in any public

forum that the Litigation was brought or defended in bad faith or without a reasonable basis.

         9.3        Lead Plaintiffs and Lead Counsel, and the attorneys, staff, experts, and consultants

assisting them in this Litigation, agree that: (a) they will not intentionally assist or cooperate with

any Person in the pursuit of private legal actions related to the subject matter of this Litigation

against the Released Defendant Parties; and (b) they will not intentionally assist or cooperate with

any non-governmental Person seeking to publicly disparage or economically harm the Released

Defendant Parties with respect to any matter relating to the subject matter or the resolution of this

Litigation. Defendants, the Dismissed Defendant, Defendants’ Counsel, the Dismissed Defendant’s

counsel, and the attorneys, staff, experts, and consultants assisting them in the Litigation agree that

they will not publicly disparage or economically harm any Lead Plaintiff, Settlement Class Member

or Lead Plaintiffs’ Counsel with respect to any matter relating to the subject matter or resolution of

this Litigation.

         9.4        Defendants and/or the Released Defendant Parties may file this Stipulation and/or the

Judgment from this Litigation in any other action that may be brought against them in order to

support injunctive relief, or a defense or counterclaim based on principles of res judicata, collateral

estoppel, release, statute of limitations, statute of repose, good faith settlement, judgment bar or

reduction, or any theory of claim preclusion or issue preclusion or similar defense or counterclaim,

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or to effectuate any liability protection under any applicable insurance policy. The Settling Parties

may file this Stipulation and/or the Judgment in any action that may be brought to enforce the terms

of this Stipulation and/or the Judgment. All Settling Parties submit to the jurisdiction of the Court

for purposes of implementing and enforcing the Settlement.

         9.5        All agreements made and orders entered during the course of the Litigation relating to

the confidentiality of information shall survive this Stipulation.

         9.6        All of the Exhibits to this Stipulation are material and integral parts hereof and are

fully incorporated herein by this reference.

         9.7        This Stipulation, along with its Exhibits, may be amended or modified only by a

written instrument signed by or on behalf of all Settling Parties or their respective successors-in-

interest.

         9.8        This Stipulation, the Exhibits attached hereto, and the Supplemental Agreement

constitute the entire agreement among the Settling Parties hereto as to the subject matter hereof and

supersede any prior or contemporaneous written or oral agreements or understandings between the

Settling Parties. No representations, warranties, or inducements have been made to any party

concerning this Stipulation, or its Exhibits, or the Supplemental Agreement, other than the

representations, warranties, and covenants contained and memorialized in such documents.

         9.9        Except as otherwise provided herein, each party shall bear his, her, or its own fees

and costs.

         9.10       Lead Counsel, on behalf of the Settlement Class, is expressly authorized by Lead

Plaintiffs to take all appropriate action required or permitted to be taken by the Settlement Class

pursuant to this Stipulation to effectuate its terms and also is expressly authorized to enter into any




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modifications or amendments to this Stipulation on behalf of the Settlement Class which it deems

appropriate.

         9.11       Each counsel or other Person executing this Stipulation, its Exhibits, the

Supplemental Agreement, or any related Settlement document, on behalf of any party hereto hereby

warrants that such Person has the full authority to do so, and that they have the authority to take

appropriate action required or permitted to be taken pursuant to the Stipulation to effectuate its

terms, without requiring additional consent, approval, or authorization of any other Person, board,

entity, tribunal, or other regulatory or governmental authority.

         9.12       This Stipulation may be executed in one or more counterparts. All executed

counterparts and each of them shall be deemed to be one and the same instrument. A complete set of

executed counterparts shall be filed with the Court. Signatures sent by facsimile or pdf via e-mail

shall be deemed originals.

         9.13       All notices, requests, demands, claims, and other communications hereunder shall be

in writing and shall be deemed duly given (i) when delivered personally to the recipient, (ii) one (1)

Business Day after being sent to the recipient by reputable overnight courier service (charges

prepaid), or (iii) when delivered to the recipient’s email address of record:

         If to Lead Plaintiffs or to Lead Counsel:

           ROBBINS GELLER RUDMAN
             & DOWD LLP
           ELLEN GUSIKOFF STEWART
           elleng@rgrdlaw.com

         If to Defendants or Defendants’ Counsel:

           WILMER CUTLER PICKERING HALE
             AND DORR LLP
           DANIEL W. HALSTON
           daniel.halston@wilmerhale.com

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         9.14       Lead Plaintiffs and Lead Counsel represent and warrant that none of Lead Plaintiffs’

claims or causes of action referred to in the Litigation or this Stipulation has been assigned,

encumbered, or any manner transferred in whole or in part.

         9.15       This Stipulation shall be binding upon, and inure to the benefit of, the successors,

heirs, and assigns of the Settling Parties.

         9.16       The Court shall retain jurisdiction with respect to implementation and enforcement of

the terms of this Stipulation, and all Settling Parties submit to the jurisdiction of the Court for

purposes of implementing and enforcing the Settlement embodied in this Stipulation and matters

related to the Settlement.

         9.17       Any waiver of any of the terms of this Stipulation must be in writing, signed by the

party against whom the waiver is sought to be enforced. The waiver by one Settling Party of any

breach of this Stipulation by any other party shall not be deemed a waiver by any other Settling Party

or a waiver of any other prior or subsequent breach of this Stipulation.

         9.18       Pending approval of the Court of this Stipulation and its Exhibits, all proceedings in

this Litigation shall be stayed, except as may be necessary to implement the Settlement or comply

with the terms of the Stipulation or other agreement of the Settling Parties. Lead Plaintiffs and any

Members of the Settlement Class shall be barred and enjoined from commencing or prosecuting

against any of the Released Defendant Parties any action or proceeding in any court or tribunal

asserting any of the Released Claims.

         9.19       This Stipulation and its Exhibits shall be considered to have been negotiated,

executed and delivered, and to be wholly performed, in the Commonwealth of Massachusetts and the

rights and obligations of the parties to the Stipulation shall be construed and enforced in accordance

with, and governed by, the internal, substantive laws of the Commonwealth of Massachusetts
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without giving effect to its choice-of-law principles, except to the extent that federal law requires

that federal law govern.

         9.20       The headings herein are used for the purpose of convenience only and are not meant

to have legal effect.

         9.21       This Stipulation shall not be construed more strictly against one party than another

merely by virtue of the fact that it, or any part of it, may have been prepared by counsel for one of

the Settling Parties, it being recognized that it is the result of arm’s-length negotiations between the

Settling Parties and the Settling Parties have contributed substantially and materially to the

preparation of this Stipulation.

         9.22       Nothing in the Stipulation, or the negotiations relating thereto, is intended to or shall

be deemed to constitute a waiver of any applicable privilege or immunity, including, without

limitation, attorney-client privilege, joint defense privilege, or work product protection.

         9.23       No opinion or advice concerning the tax consequences of the proposed Settlement to

individual Settlement Class Members is being given or will be given by the Settling Parties or their

counsel; nor is any representation or warranty in this regard made by virtue of this Stipulation. Each

Settlement Class Member’s tax obligations, and the determination thereof, are the sole responsibility

of the Settlement Class Member, and it is understood that the tax consequences may vary depending

on the particular circumstances of each individual Settlement Class Member.

         9.24       Unless otherwise provided, the Settling Parties may agree to reasonable extensions of

time to carry out any of the provisions of this Stipulation without further order of the Court.

         IN WITNESS WHEREOF, the parties hereto have caused the Stipulation to be executed, by

their duly authorized attorneys, dated April 23, 2024.




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                    Counsel for Defendants Pegasystems Inc. and Alan
                    Tretler




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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically to

the registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies

will be sent to those indicated as non-registered participants on April 23, 2024.

                                                   /s/ Debra J. Wyman
                                                   DEBRA J. WYMAN
